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                        IN THE UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION

 AMPLA, LLC,                                  )
                                              )      CASE NO. 4:24-cv-00869
                 Plaintiff,                   )
                                              )      JUDGE BENITA Y. PEARSON
          vs.                                 )
                                              )      STIPULATED DISMISSAL
 BURKE DECOR, LLC, et al.,                    )      WITHOUT PREJUDICE
                                              )
                 Defendants.                  )

         Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii), Plaintiff Ampla, LLC (“Ampla”), Defendants

Erin Burke, Burke Decor, LLC, Au Marche, LLC, and Furnishings LA, LLC (the “Burke

Defendants”), and Defendant Small Business Administration stipulate that this matter be

DISMISSED WITHOUT PREJUDICE. The Parties shall pay their own costs, expenses, and legal

fees.

Respectfully Submitted,

 PORTER, WRIGHT, MORRIS & ARTHUR LLP              McDonald Hopkins LLC

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24273778
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                                       CERTIFICATE OF SERVICE

             I certify that the foregoing was filed electronically through the Court’s ECF system on October

22, 2024, and that a Notice of Electronic Filing will be sent to counsel of record for all parties

through the Court’s electronic system.



                                                    /s/ McDaniel M. Kelly
                                                    One of the Attorneys for Plaintiff




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